Case 1:05-cv-01063-.]DT-STA Document 11 Filed 07/25/05 Page 1 of 3 Page|D 18

F|LED BY*.:_@.S/,__ D.C.

IN THE UNITED sTATEs DIsTRIcT CoUl{jI-S J;;;_ 25 ppg 3=1,3
FoR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIvIsIoN WG`¢),M_Q,E CDM
*":-if 2 f\‘.“ `

    

TENNESSEE VALLEY AUTHORITY
Plaintiff,
vs Civil No. 05-1063-T/An

MB VALUATION SERVICES, INC.

Defendant.

 

ORDER SETTING CASE FOR TRIAL

 

This is to notify you that this case is set for JURY TRIAL on
MONDAY, JUNE 5, 2006 ,at 9:30 a.m. in Rm 432, U. S. Courthouse.
Jackson, TN. The joint pre-trial order must be submitted to the
court by FRIDAYl MAY 26l 2006. All Discovery must be completed
before that date.

Counsel, and any party proceeding prp §§, MUST confer and
attempt to prepare a joint pre-trial order which covers the items
set forth below. If a joint pre-trial order cannot be agreed.upon,
the attorneys must notify the court at least 10 days prior to trial
that a pre-trial conference may be necessary. In addition to
notifying the court, the attorney for each party cn: a party
proceeding pro se must submit a draft of a pre-trial order that
considers the following matters:

l. any jurisdictional questions, and the proper ruling

thereon;

2. any questions raised by pending motions, and the
proper ruling thereon;

3. the respective contentions of the parties, including

the contentions of the parties with regard to the nature
and amounts of damages;

4. specific facts that may be stipulated (possible
sources of these agreed facts are the pleadings,
discovery, or admission of counsel);

5. contested issues of fact;

6. contested issues of law;

7. exhibits (except documents for impeachment only) to
be offered in evidence by the parties, and to the extent
possible, a stipulation as to admissibility;

8. witnesses for the parties - indicate those who will
be called in the absence of reasonable notice to opposing

Case 1:05-cv-01063-.]DT-STA Document 11 Filed 07/25/05 Page 2 of 3 Page|D 19

counsel to the contrary and those who may be called as a

possibility only.

Counselr and any party proceeding prp_§§, are also directed to
confer and exchange information as to the ultimate issues of law
and fact, eliminating unnecessary or irrelevant issues that may
appear in the pleadings or discovery, offered in evidence at the
trial.

In the event a pre-trial conference is necessary those who
will try the case will be generally familiar with pre-trial
procedures and come to a pre-trial conference with full authority
to accomplish the purpose of the conference, which is to simplify
and define the triable issues, expedite the trial, and save
expense. At the time of the conference, counsel and any party
proceeding‘ prp__§§ \Nill report to the court the prospects of
settlement as well as estimates of the length of time it will take
to try the case. For a discussion of pre-trial conferences and a
modified form for a pre-trial order, see Hon. A. Sherman
Christenson, When Is A Pre-Trial Conference A "Pre-Trial
Conference"?c 23 F.R.D. 129 (1958) (paper presented before Pre-
Trial Committee of the Tenth Circuit); see also Fed. R. Civ. P. 16.

IF AN ATTORNEY OR A PARTY PROCEEDING BBQ_§E FAILS TO APPEAR AT
THE PRE-TRIAL CONFERENCE OR.FAILS TO COMPLY'WITH THE DIRECTIONS SET
FORTH HEREIN, AN EX PARTE HEARING MAY BE HELD AND/OR JUDGMENT OF
DISMISSAL OR DEFAULT OR OTHER APPROPRIATE JUDGMENT ENTERED.

IT lS SO ORDERED.

ENTERED AS DIRECTED,
THOMAS M. GOULD, CLERK

By= DEW_»€\F.)C/€W

eputy Clerk
DATE: 7/=2$,/ OS

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 1:05-CV-01063 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

ESSEE

 

Maureen H. Dunn

TENNESSEE VALLEY AUTHORITY
400 W. Summit Hill Dr.

KnoX\/ille7 TN 37902--140

H. Buckley Cole

GREENEBAUM, DOLL & l\/ICDONALD7 PLLC
700 TWo American Center

3102 West End Avenue

Nashville, TN 37203

Richard E. Riggs

TENNESSEE VALLEY AUTHORITY
400 W. Summit Hill Dr.

KnoX\/ille7 TN 37902--140

Harriet A. Cooper

TENNESSEE VALLEY AUTHORITY
400 W. Summit Hill Dr.

KnoX\/ille7 TN 37902--140

LaWrence R. Ahern
Greenbaum Doll & McDonald
700 TWo American Center
Nashville, TN 37203

David W. Houston

GREENBAUM, DOLL7 & l\/ICDONALD7 PLLC
700 TWo American Center

3102 West End Aveue

Nashville, TN 37203

Honorable J ames Todd
US DISTRICT COURT

